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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF ILLINOIS
IN RE:                                        )
   Leo Tigue                                  )     In proceedings under
                                              )         Chapter 13
                                              )
           Debtor(s).                         )
                                              )     Bk. No.: 19-30460
   RUSSELL C. SIMON,                          )
                                              )
       Chapter 13 Trustee/Objector,           )
              v.                              )
   REGIONS BANK                               )
       (Claim # 26),                          )
              Creditor/Respondent.            )

                  TRUSTEE’S OBJECTION TO UNTIMELY FILED CLAIM, AND NOTICE
                  FIXING 30 DAY PERIOD FOR CREDITOR’S AFFIRMATIVE RESPONSE

         COMES NOW Russell C. Simon, Chapter 13 Trustee, and for his Objection to Allowance of Untimely
 Filed Claim, states as follows:
 Creditor, REGIONS BANK, filed a proof of claim on August 06, 2019. The bar date for filing claims was
 June 20, 2019. The claim should be disallowed as untimely.

 WHEREFORE, the Chapter 13 Trustee seeks an Order of this Court disallowing the claim of the creditor listed
 above.

 THE DEBTOR(S) AND THE CREDITOR LISTED ABOVE ARE HEREBY NOTIFIED THAT AN
 APPROPRIATE RESPONSE, IF ANY, MUST BE FILED NO LATER THAN 30 DAYS FROM THE
 DATE OF THIS NOTICE. ABSENT A TIMELY RESPONSE, AN ORDER GRANTING THE RELIEF
 SOUGHT WILL BE ENTERED BY THE COURT WITHOUT FURTHER NOTICE OR HEARING.

                                            /s/ Russell C. Simon
                                            RUSSELL C. SIMON, Trustee
                                            Chapter 13 Trustee
                                            24 Bronze Pointe
                                            Swansea, Illinois 62226
                                            Telephone: (618) 277-0086
                                            Telecopier: (618) 234-0124

 Dated: August 07, 2019
 RLS
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                                    CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing Trustee's Objection to Untimely Filed
Claim was served on the parties listed below by ordinary U.S. Mail (with the correct postage prepaid and
deposited in the U.S. Mail in Belleville, IL) or served electronically through the Court's ECF System at the
email address registered with the Court on this day, Wednesday, August 7, 2019.

                                              /s/Rebecca

Leo Tigue
180 Portmarnock Lane
St Charles, MO 63304

.J D GRAHAM
1 EAGLE CENTER STE 3A
OFALLON, IL 62269


REGIONS BANK
C/O MATHIS MARIFIAN & RICHTER
101 W VANDALIA ST STE 100
EDWARDSVILLE, IL 62025
REGIONS BANK
ATTN: GRAYSON HALL, PRESIDENT AND CEO
1900 FIFTH AVE N
BIRMINGHAM, AL 35203
Certified Mail
